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 4       Entered on Docket
         July 31, 2019
 5___________________________________________________________________

 6                              UNITED STATES BANKRUPTCY COURT

 7                                        DISTRICT OF NEVADA

 8
     In re:                              )             Case No. 14-50333-gs
 9                                       )             Case No. 14-50331-gs
10   ANTHONY THOMAS and,                 )
                                         )             (Jointly Administered)
11   WENDI THOMAS,                       )
                                         )             Chapter 7
12   AT EMERALD, LLC,                    )
                                         )             Date: September 13, 2019
13
                    Debtors.             )             Time: 9:30 a.m.
14   ____________________________________)

15
                    SCHEDULING ORDER RE: DEBTOR’S RULE 60(b) MOTION
16            On July 12, 2019, the court entered its Order (1) Regarding Pending Motions and
17 Debtor’s Request for Stay of Proceedings, and (2) Overruling Debtor’s Objections to the

18 Trustee’s Bid Procedures Order (ECF No. 512) (Order). Pursuant to the Order, the court set a

19 hearing on the debtors’ Notice of Motion and Motion for Judicial Notice of Law & Facts ISO

20 Rule 60(b)(4) Motion to Vacate Void Conversion Order (ECF No. 508) and the Notice of Rule

21 60(b)(4) Motion & Motion to Vacate Order Void on Its Face in Violation of U.S. Constitutional

22 Due Process Rights; Request for Stay (ECF No. 509) (together, the Rule 60(b) Motion) on

23 September 13, 2019 at 9:30 a.m., to be heard by the court via video conference.

24            At the July 19, 2019 evidentiary hearing held on the chapter 7 trustee’s (Trustee) Motion
25 for Order Confirming Sale by Auction; Request for Approval of Payment of Commission to

26 Stremmel Auctions (ECF No. 430) (Sale Motion), the court discussed the September 13, 2019

27 hearing date with the parties in conjunction with scheduling further testimony to be taken on the

28 Sale Motion. After discussion with the parties, the hearing on the Rule 60(b) Motion was left
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 1 unchanged, and shall be heard on September 13, 2019 at 9:30 a.m. During the discussion, the

 2 parties agreed to a briefing schedule for the Rule 60(b) Motion. Therefore,

 3         IT IS ORDERED that responses to the Notice of Motion and Motion for Judicial Notice

 4 of Law & Facts ISO Rule 60(b)(4) Motion to Vacate Void Conversion Order (ECF No. 508) and

 5 Notice of Rule 60(b)(4) Motion & Motion to Vacate Order Void on Its Face in Violation of U.S.

 6 Constitutional Due Process Rights; Request for Stay (ECF No. 509) must be filed with the court

 7 and served on the debtors no later than close of business on August 9, 2019.

 8         IT IS FURTHER ORDERED that replies to any oppositions to the Rule 60(b) Motion
 9 must be filed with the court and served on the respondent(s) and its/their counsel no later than

10 close of business on August 26, 2019.

11         IT IS FINALLY ORDERED that the hearing on the Rule 60(b) Motion scheduled for
12 September 13, 2019 at 9:30 a.m. will remain on calendar.

13         IT IS SO ORDERED.
14 * * * * *

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     Copies sent to all parties via CM/ECF ELECTRONIC NOTICE and via U.S. Mail to:
16
   ANTHONY THOMAS
17 7725 PEAVINE PEAK COURT
   RENO, NV 89523
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